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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


 UNITED STATES OF AMERICA

                Plaintiff,




 vs.                                                      Case No. 11-10074-03-EFM
 MARIANO HERRERA

                Defendant.




                               MEMORANDUM AND ORDER

       Defendant Mariano Herrera asks the Court to suppress inculpatory statements he made to

investigators after Herrera and two co-defendants were arrested in a drug sting operation. Herrera

claims that he did not voluntarily, knowingly, and intelligently waive his Miranda rights. A suspect

waives Miranda rights if the suspect was given an adequate Miranda warning, understood that

warning, and subsequently made an uncoerced statement to investigators. The Court denies

Herrera’s motion to suppress because the government has proved by a preponderance of the

evidence that Herrera heard and understood the written Miranda warning provided to him and then

voluntarily spoke with investigators.

                             I. Factual and Procedural Background

       Herrera and his two co-defendants were arrested and charged with numerous violations of

law, including possession with intent to distribute methamphetamine. Upon arrest, Herrera was



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detained and questioned by Detective Padron of the Wichita Police Department. Det. Padron first

sought oral assurances that Herrera’s cognition was not impaired by drugs, alcohol, or injury, and

that Herrera could understand what Det. Padron was saying. Det. Padron then provided Herrera with

a U.S. Immigration and Customs Enforcement form containing a Miranda warning written in

Spanish. The form has two parts—a declaration of rights and a waiver of the same.1

       Det. Padron first instructed Herrera to read aloud seven statements advising Herrera of his

rights and, if Herrera understood the advisement, place his initials beside the statement. Herrera

complied with this request, occasionally requiring assistance from Det. Padron. After Herrera read

each advisement, Det. Padron asked in Spanish, “Do you understand?” and Herrera responded

affirmatively. After Herrera read the final advisement, the following exchange occurred:

       [PADRON]: Knowing your rights did I ask you some questions?

       [HERRERA]: Yes.

       [PADRON]: Ok. It is . . . it is . . . .

       [HERRERA]: I’m a little scared because of all this. It is ugly.

       [PADRON]: Put your name here and signature here please. I’m going to sign as a
       witness and then you want to talk to me? Now tell me what happened yesterday.

Herrera then told Det. Padron his recollection of the events leading to his arrest.

                                                 II. Analysis

       In this suppression motion, the Court must decide whether Herrera voluntarily, knowingly,

and intelligently waived his Miranda rights after being detained. The admissibility of a defendant’s

custodial statements to investigators is governed by the Due Process Clause of the Fourteenth



       1
           These portions are entitled “Declaración de Derechos” and “Renuncia a Los Derechos.”

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Amendment, which examines the voluntariness of the statement,2 and the Fifth Amendment, which

protects a defendant’s right to be free from compelled self-incrimination.3 The Supreme Court’s

decision in Miranda v. Arizona4 sets forth prophylactic measures to guard against the inherently

coercive nature of custodial interrogations. Specifically, “[p]rior to any [custodial] questioning, the

person must be warned that he has a right to remain silent, that any statement he does make may be

used as evidence against him, and that he has a right to the presence of an attorney, either retained

or appointed.”5 Statements made during custodial interrogations are inadmissible at trial unless the

suspect “voluntarily, knowingly and intelligently” waives each articulated right.6 The waiver must

be voluntary in the sense that it is not the product of intimidation, coercion, or deception;

furthermore, it must be made “with a full awareness of both the nature of the right being abandoned

and the consequences of the decision to abandon it.”7

         The government must prove by a preponderance of the evidence the validity of a suspect’s

Miranda waiver.8 But the government need not produce an express waiver9—it can establish that



         2
             See Dickerson v. United States, 530 U.S. 428, 433 (2000).
         3
           See U.S. Const. amend. V (stating that no “personal shall . . . be compelled in any criminal case to be a
witness against himself”).
         4
             384 U.S. 436 (1966).
         5
             Id. at 444.
         6
             Id. at 474, 476.
         7
          Moran v. Burbine, 475 U.S. 412, 421 (1986), accord Berghuis v. Thompkins, ___ U.S. ___, 130 S. Ct. 2250,
2260 (2010) (citations omitted).
         8
             See United States v. Toro-Pelaez, 107 F.3d 819, 825 (10th Cir. 1997), cert. denied, 522 U.S. 845 (1997).
         9
           See Thompkins, 130 S. Ct. at 2261 (stating that “waivers can be established even absent formal or express
statements of waiver”); Toro-Pelaez, 107 F.3d at 825 (“An express statement of waiver by the defendant is not required;
instead, waiver can be inferred from the defendant’s actions and words.”).

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the suspect implicitly waived Miranda rights by showing that (1) the suspect received a Miranda

warning, (2) the suspect understood the warning, and (3) the suspect made an uncoerced statement

to investigators.10 In this case, Herrera does not challenge the content of the Miranda warning he

received. Instead, he argues that he did not understand or voluntary waive his Miranda rights. The

Court will consider these two arguments in turn.

A.       Herrera understood his Miranda rights.

         When deciding whether a suspect understood a Miranda warning, the court considers such

factors as the suspect’s age, intelligence, education, and physical state, as well as the length and

nature of the suspect’s detention and questioning.11 Herrera is an adult, and Det. Padron ensured that

Herrera was not under the influence of drugs or alcohol, or suffering from any potentially

debilitating head injuries at the time of questioning. As discussed below, there is no evidence that

the duration or conditions of Herrera’s detention and questioning was coercive or otherwise

improper. Herrera relies heavily on the fact that he attended only three years of schooling and has

limited literacy skills. But a translated transcript of the conversation between Herrera and Det.

Padron shows that, despite some difficulty with pronunciation, the two conversed meaningfully

without incident.12 Furthermore, Herrera responded appropriately to both Det. Padron’s questions

and the written advisements.13 Specifically, after reading that he had a right to an appointed attorney


         10
              Thompkins, 130 S. Ct. at 2262.
         11
              United States v. Bustillos-Munoz, 235 F.3d 505, 516 (10th Cir. 2002).
         12
            See id. at 517 (stating that Miranda warning need only communicate the “substance” or “essence” of the
suspect’s constitutional rights).
         13
            See United States v. Sanchez-Chaparro, 392 Fed. App’x 639, 644 (10th Cir. 2010) (stating, in a case in which
a native Spanish speaker claimed he did not understand a Miranda warning given in English, that the defendant was
sufficiently proficient in English to understand the warning in part because the defendant responded appropriately to
investigators’ questioning).

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and being asked whether he understood that right, Herrera responded, “Yes . . . I don’t have any .

. . I don’t have any money to pay a lawyer.”14

         Most importantly, Det. Padron explained to Herrera that he should read and understand each

advisement before placing his initials beside the statement. After this explanation, Det. Padron

asked no fewer than seven times—once after each advisement—whether Herrera understood the

statement he just read aloud. Each time, Herrera responded, “Yes.”15 The Court cannot conceive

of further action by Det. Padron to ascertain Herrera’s comprehension of the Miranda warning.16

Despite Herrera’s limited educational background, his responses to Det. Padron’s questions and

affirmations that he understood the advisements he read show by a preponderance of the evidence

that Herrera received and understood his Miranda rights.

          Herrera asks the Court to rely on United States v. Robles-Ramirez,17 in which the Western

District of Texas suppressed a defendant’s statements to investigators because the defendant could

not read a written Miranda warning. That case is distinguishable on its facts and the legal question

presented. The investigator in Robles-Ramirez simply handed the defendant the written warning and




         14
              Gov’t Ex. 2, p. 3.
         15
              Id. at pp. 2–3.
         16
            The Tenth Circuit has noted that circumstances exist in which suspects may be unwilling to admit lack of
comprehension of the Miranda warning. See, e.g., United States v. Alarcon, 95 Fed. App’x 954, 956 (10th Cir. 2004)
(noting that a defendant testified that he “often pretend[ed] to understand English because he want[ed] to appear
cooperative”). Nevertheless, federal law places the onus upon the defendant to make any confusion known to
investigators and, correspondingly, to ask for clarification. See, e.g., Thompkins, 130 S. Ct. at 226 (holding that a suspect
must unambiguously invoke the right to remain silent); Davis v. United States, 512 U.S. 452, 458–59 (1994) (holding
that a suspect must unequivocally invoke the right to counsel before investigators are obligated to cease questioning).
The conduct of the investigators in this case comports with the law’s requirements. Further vigilance or safeguarding
of suspects’ rights is at the discretion of the investigating agency.
         17
              93 F. Supp. 2d 762 (W.D. Tex. 2000).

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allowed him time to read the statement without ensuring that the defendant could in fact read.18 The

officer could not remember seeing the defendant scan the document and a defense expert testified

that the defendant could not recognize “any number of simple Spanish words.”19 The issue before

the court, therefore, was not whether the defendant understood the warning—the more fundamental

issue was whether the defendant even read the warning.20 Here, Det. Padron asked Herrera to read

the statements aloud, thereby ensuring that Herrera could read. Although Herrera read the warning

haltingly, he stumbled only over pronunciation of large words and the formal abbreviation of the

word “usted.” Therefore, Robles-Ramirez is inapplicable to these facts.

B.          Herrera impliedly and voluntarily waived his Miranda rights.

            Having concluded that Herrera received and understood the Miranda warning, the Court

must decide whether Herrera voluntarily waived his rights. The Due Process Clause requires courts

to ensure that a defendant’s will was not “overborne by the circumstances surrounding the giving

of a confession.”21 The Tenth Circuit “assesses voluntariness of a suspect’s waiver of his Miranda

rights by examining the totality of the circumstances” and such factors as the length of the detention

and interrogation, and the use or threat of physical force.22

            Herrera contends that he did not waive his Miranda rights because he did not read or

understand the waiver portion of the form he was given. Assuming Herrera’s allegation is true, he



            18
                 Id. at 763.
            19
                 Id. at 764.
            20
                 Id. (asking, “[b]ut did he read them?” and holding that “the defendant could not and did not read his Miranda
rights”).
            21
                 Dickerson, 530 U.S. at 434 (citation omitted) (internal quotation mark omitted).
            22
                 Smith v. Mullin, 379 F.3d 919, 934 (10th Cir. 2004).

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nevertheless elected to speak with investigators after reading aloud his Miranda rights. As the

Supreme Court stated in the recent case of Berghuis v. Thompkins, answering an investigator’s

question is “a course of conduct indicating waiver.”23 Therefore, Herrera implicitly waived his

Miranda rights by talking to Det. Padron.24

         Furthermore, the Court concludes that Herrera’s implicit waiver was voluntary. In his

memorandum, Herrera alleges that his statements were “improperly coerced by Det. Padron’s

intimidating interrogation tactics in an incommunicado, police-dominated atmosphere.”25 But

testimony elicited at oral argument does not support this conclusory assertion. According to Det.

Padron’s testimony, only two officers—Det. Padron and an ICE agent—were presented during

Herrera’s questioning and neither was in uniform. Det. Padron testified that he was not armed and

he similarly did not see any weapons in the ICE agent’s possession. Neither agent made promises

or threats to Herrera and Det. Padron testified that he used a conversational tone when speaking.

Given the complete lack of evidence of any coercive or intimidating circumstances, the Court finds

that Herrera voluntarily waived his Miranda rights.

         In conclusion, Herrera received and understood the written Miranda warning provided to

him. By answering Det. Padron’s questions after reading the warning, Herrera implicitly waived

his Miranda rights. The evidence presented fails to show coercive conduct on the part of the



         23
              130 S. Ct. at 2263 (citation omitted) (quotation marks omitted).
         24
            At oral argument, the government asked the Court to assume a line in the transcript in which Det. Padron
asked Herrera, “Knowing your rights, did I ask you some questions?” was a typographical error that should in fact read,
“Knowing your rights, can I ask you some questions?” See Gov’t Ex. 2, p. 3. But Det. Padron testified that he reviewed
his handwritten translation of the conversation as well as the typewritten copy. Absent testimony from Det. Padron that
he did in fact say “can” rather than “did,” the Court will not assume error. Consequently, the Court cannot assume
Herrera’s affirmative response to this question constituted an explicit waiver of his Miranda rights.
         25
              Doc. 60, p. 3.

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government. Therefore, the Court holds that Herrera voluntarily, knowingly, and intelligently

waived his Miranda rights.

       IT IS ACCORDINGLY ORDERED this 2nd day of December, 2011 that Defendant’s

Motion to Suppress (Doc. 59) is hereby DENIED.

       IT IS SO ORDERED.




                                                   ERIC F. MELGREN
                                                   UNITED STATES DISTRICT JUDGE




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